        Case 13-20060-GLT                         Doc 342             Filed 11/30/17 Entered 11/30/17 22:08:05            Desc Main
                                                                     Document      Page 1 of 8

                                              IN THE UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF PENNSYLVANIA
 IN RE:                                                                          :
                                                                                 :         Case No.          13-20060-GLT
 Major R. Rainey,                                                                :          Chapter               13
                                                                                 :
                             Major R. Rainey,                                    :
                                  Movant(s),                                     :
                                                                                 :
                                          - vs. -                                :
                                                                                 :
                          Wells Fargo Bank, NA and                               :
                        Ronda J. Winnecour, Trustee,                             :
                                       Respondent.                               :
                                                                                 :

                                                     NOTICE OF PROPOSED MODIFICATION TO
                                                      CONFIRMED PLAN DATED JUNE 3, 2016

1. Pursuant to 11 U.S.C. § 1329, the Debtor has filed an Amended Chapter 13 Plan dated November 26, 2017, which is
annexed hereto at Exhibit "A" (the "Amended Chapter 13 Plan"). Pursuant to the Amended Chapter 13 Plan, the Debtor
seeks to modify the confirmed Plan in the following particulars:

2. The proposed modification to the confirmed Plan will impact the treatment of the claims of the following creditors, and
in the following particulars: Wells Fargo Bank, NA.

3. Debtor submits that the reason(s) for the modification is (are) as follows: Debtor fell behind on his Plan payments
and has amended the Plan to cure the arrears. In addiction, Counsel for Wells Fargo Bank, NA advised Debtor's
counsel that the mortgage company sold the property located at 5450 Black Street, Pittsburgh, PA 15206, to the
Debtor in a Short Sale. As a result, there is no balance owed.

4. The Debtor submits that the requested modification is being proposed in good faith, and not for any means prohibited
by applicable law. The Debtor further submits that the proposed modification complies with 11 U.S.C. 1322(a), 1322(b),
1325(a) and 1329, except as set forth above, there are no other modifications sought by way of the Amended Chapter 13
Plan.

WHEREFORE, the Debtor respectfully requests that the Court enter an Order confirming the Amended Chapter13 Plan,
and for such other relief the Court deems equitable and just.

RESPECTFULLY SUBMITTED, this 26th day of November, 2017.


                                                                                      /s/ Albert G. Reese, Jr., Esquire
                                                                                      Name: Albert G. Reese, Jr., Esquire
                                                                                      Attorney I.D.: 93813
                                                                                      Address: Law Office of Albert G. Reese, Jr.
                                                                                                 640 Rodi Road, 2nd Floor, Suite 2
                                                                                                 Pittsburgh, PA 15235
                                                                                      Phone # : 412-241-1697
                                                                                      Facsimile#: 412-241-1687
                                                                                      E-Mail: areese8897@aol.com

                                                                                      Attorney for the Debtor

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       Case 13-20060-GLT                       Doc 342           Filed 11/30/17 Entered 11/30/17 22:08:05                    Desc Main
                                                                Document      Page 2 of 8


                                                    IN THE UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF PENNSYLVANIA


Bankruptcy Case Number                 13-20060-GLT

Debtor#1: Major R. Rainey                                                  Last Four (4) Digits of SSN: xxx-xx-0177
Debtor#2:                                                                  Last Four (4) Digits of SSN:
Check if applicable                Amended Plan                 Plan expected to be completed within the next 12 months


                     AMENDED CHAPTER 13 PLAN DATED     November 26, 2017
                        COMBINED WITH CLAIMS BY DEBTOR PURSUANT TO RULE 3004

     UNLESS PROVIDED BY PRIOR COURT ORDER THE OFFICIAL PLAN FORM MAY NOT BE MODIFIED


PLAN FUNDING
   Total amount of $ 13,900.00 per month for a plan term of 60 months shall be paid to the Trustee from future earnings as
   follows:
    Payments: By Income Attachment                  Directly by Debtor                  By Automated Bank Transfer
    D#1          $                                  $ 13,900.00                         $
    D#2          $                                  $                                   $
    (Income attachments must be used by Debtors having attachable income)               (SSA direct deposit recipients only)

     Estimated amount of additional plan funds from sale proceeds, etc.: $ NONE
     The Trustee shall calculate the actual total payments estimated throughout the plan.
     The responsibility for ensuring that there are sufficient funds to effectuate the goals of the Chapter 13 plan rests with the Debtor.

PLAN PAYMENTS TO BEGIN: no later than one month following the filing of the bankruptcy petition.

FOR AMENDED PLANS:
      i. The total plan payments shall consist of all amounts previously paid together with the new monthly payment for the
           remainder of the plan's duration.
      ii. The original plan term has been extended by      months for a total of     months from the original plan filing date;
      iii. The payment shall be changed effective April 1, 2017 .
      iv. The Debtor(s) have filed a motion requesting that the court appropriately change the amount of all wage orders.

     The Debtor agrees to dedicate to the plan the estimated amount of sale proceeds: $    from the sale of this property
     (describe)  . All sales shall be completed by      . Lump sum payments shall be received by the Trustee as follows:                   .
     Other payments from any source (describe specifically)     shall be received by the Trustee as follows:    .

The sequence of plan payments shall be determined by the Trustee, using the following as a general guide:

Level One:             Unpaid filing fees.
Level Two:             Secured claims and lease payments entitled to Section 1326 (a)(1)(C) pre-confirmation adequate protection payments.
Level Three:           Monthly ongoing mortgage payments, ongoing vehicle and lease payments, installments on professional fees, and post-petition
                       utility claims.
Level Four:            Priority Domestic Support Obligations.
Level Five:            Mortgage arrears, secured taxes, rental arrears, vehicle payment arrears.
Level Six:             All remaining secured, priority and specially classified claims, miscellaneous secured arrears.
Level Seven:           Allowed general unsecured claims.
Level Eight:           Untimely filed unsecured claims for which the debtor has not lodged an objection.

1.   UNPAID FILING FEES                    X

Filing fees: the balance of $          0.00      shall be fully paid by the Trustee to the Clerk of Bankruptcy Court from the first available funds.


PAWB Local Form 10 (07/13)                                                                                                                     Page 1 of 7

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        Case 13-20060-GLT                      Doc 342           Filed 11/30/17 Entered 11/30/17 22:08:05           Desc Main
                                                                Document      Page 3 of 8


2.   PERSONAL PROPERTY SECURED CLAIMS AND LEASE PAYMENTS ENTITLED TO PRECONFIRMATION
     ADEQUATE PROTECTION PAYMENTS UNDER SECTION 1326(a)(1)(C)

Creditors subject to these terms are identified below within parts 3b, 4b, 5b, or 8b.
Timely plan payments to the Trustee by the Debtor(s) shall constitute compliance with the adequate protection requirements of
Section 1326(a)(1)(C). Distributions prior to final plan confirmation shall be made at Level 2. Upon final plan confirmation, these
distributions shall change to level 3. Leases provided for in this section are assumed by the Debtor(s).

3.(a)      LONG TERM CONTINUING DEBTS CURED AND REINSTATED, AND LIEN (if any) RETAINED

Name of Creditor                       Description of Collateral                      Monthly Payment               Pre-petition arrears to
(include account #)                    (Address or parcel ID of real estate,          (If changed, state            be cured (w/o interest,
                                       etc.)                                              effective date)          unless expressly stated)
                                                                                 0.00 *Counsel for the
                                                                                   mortgage company
                                                                                      advised Debtor's
                                                                                      Counsel that the
                                                                               mortgage company sold
                                                                                    the property to the
                                       Rental Property #3: Two Family           Debtor in a Short Sale.
                                       home located at 5450 Black Street,       As a result, there is no
Wells Fargo #3                         Pittsburgh (11th Ward), PA 15206.                balance owed.                                    0.00
                                       Rental Property #6: Single Family
                                       home located at 419 Grove Street,
Chase #6                               Pittsburgh (5th Ward), PA 15219.                          401.34                           13,619.80
                                       Rental Property #8: Rowhouse
                                       located at 921 Clarissa Street,
Chase #8                               Pittsburgh (5th Ward), PA 15219.                          246.11                               438.88
                                       Rental Property #16: Commerical
Bayview Financial Loan                 Property with rental units above
#16                                    located at 1910 Monongahela Ave.,                                                        1,226.18
xxxxx5737                              Swissvale.                                              1,305.00       plus 1,300.00 post-petition

3.(b) Long term debt claims secured by PERSONAL property entitled to §1326(a)(1)(C) preconfirmation adequate protection
payments:
-NONE-

4.   SECURED CLAIMS TO BE PAID IN FULL DURING TERM OF PLAN, ACCORDING TO ORIGINAL CONTRACT
     TERMS, WITH NO MODIFICATION OF CONTRACTUAL TERMS AND LIENS RETAINED UNTIL PAID

4.(a) Claims to be paid at plan level three (for vehicle payments, do not use "pro rata" but instead, state the monthly payment to be
applied to the claim):
 Name of Creditor              Description of Collateral         Contractual Monthly Principal Balance of Claim Contract Rate of
                                                                    Payment (Level 3)                                            Interest
-NONE-

4(b) Claims entitled to preconfirmation adequate protection payments pursuant to Section 1326 (a)(1)(C) (Use only if claim qualifies
for this treatment under the statute, and if claims are to be paid at level two prior to confirmation, and moved to level three after
confirmation):
 Name of Creditor               Description of Collateral         Contractual Monthly Principal Balance of Claim Contract Rate of
                                                                     Payment (Level 3)                                             Interest
-NONE-

5.   SECURED CLAIMS TO BE FULLY PAID ACCORDING TO MODIFIED TERMS AND LIENS RETAINED

5.(a) Claims to be paid at plan level three (for vehicle payments, do not use "pro rata"; instead, state the monthly payment to be
applied to the claim)
 Name of Creditor              Description of Collateral           Modified Principal                Interest Rate Monthly Payment at
                                                                              Balance                                Level 3 or Pro Rata
PAWB Local Form 10 (07/13)                                                                                                          Page 2 of 7

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       Case 13-20060-GLT                       Doc 342           Filed 11/30/17 Entered 11/30/17 22:08:05          Desc Main
                                                                Document      Page 4 of 8


Name of Creditor                       Description of Collateral           Modified Principal       Interest Rate Monthly Payment at
                                                                                     Balance                      Level 3 or Pro Rata
                                       Rental Property #10:
                                       Rowhouse located at 813
                                       Cherokee Street, Pittsburgh                                                               497.98
Chase #10                              (5th Ward), PA 15219.                25,000.00                      7.25%     plus 55.97 escrow
                                       Rental Property #11: Single
                                       Family home located at 766           22,618.45
                                       Bryn Mawr Road, Pittsburgh (19,015.85 secured,                                            449.21
Chase #11                              (5th Ward), PA 15219.         3,602.60 arrears)                    7.125%     plus 59.46 escrow
                                       Rental Property #12:
                                       Rowhouse located at 2286
                                       Bedford Ave., Pittsburgh (5th                                                             329.65
Chase #12                              Ward), PA 15219.                     16,598.25                     7.125%     plus 60.05 escrow
                                                                                                                                 656.45
                                       Rental Property #5: Single                                                        (This monthly
                                       Family home located at 810                                                     payment is made
                                       Clarissa St., Pittsburgh (5th                                                   up of 587.89 P&I
Chase #5                               Ward), PA 15219.                            32,000.00                3.9%     and 68.56 escrow)
                                       Rental Property #7:
                                       Rowhouse located at 801                     23,754.20
                                       Cherokee Street, Pittsburgh       (14,385.89 secured,                                  473.17
Chase #7                               (5th Ward), PA 15219.                9,368.31 arrears)              7.25% plus 128.01 escrow
                                       Rental Property #13: Single
                                       Family home located at 552
                                       Midland St., Pittsburgh
Chase #13                              (Wilkinsburg), PA 15221.                    30,000.00              8.875%                   620.93
                                       Rental Property #2:
                                       Rowhouse located at 728                     18,394.93
                                       Anaheim St., Pittsburgh (5th      (17,500.00 secured,                                     349.25
Wells Fargo #2                         Ward), PA 15219.                       894.93 arrears)              5.25%     plus 21.66 arrears
                                       Rental Property #14:
                                       Rowhouse located at 227                     16,000.00
                                       Lombard St., Pittsburgh (3rd            plus 1,416.61                                     303.78
Wells Fargo #14                        Ward), PA 15219.                    post-petition fees              5.25%     plus 78.04 arrears
                                       2009 Cadillac Escalade,
                                       88,746 miles.
                                       Location: 2415 Aliquippa
                                       Street, Apt 110, Pittsburgh
Ally Financial                         PA 15213                                    27,827.97                  0%                   463.80




5.(b) Claims entitled to preconfirmation adequate protection payments pursuant to Section 1326 (a)(1)(C) (Use only if claim qualifies
for this treatment under the statute, and if claims are to be paid at level two prior to confirmation, and moved to level three after
confirmation):
 Name of Creditor               Description of Collateral           Modified Principal                Interest Rate Monthly Payment at
                                                                                Balance                               Level 3 or Pro Rata
-NONE-

6.   SECURED CLAIMS NOT PAID DUE TO SURRENDER OF COLLATERAL; SPECIFY DATE OF SURRENDER

Name the Creditor and identify the collateral with specificity.
                                       Rental Property #4:
                                       Apartment building located
Ocwen Loan Servicing,                  at 1117 - 1125 Hill Ave. and
LLC                                    1301 - 1303 Montier Street,
***Debtor Surrender May                Pittsburgh (Wilkinsburg), PA
2016.                                  15221.                                     126,600.00               9.01%                2,994.83



PAWB Local Form 10 (07/13)                                                                                                        Page 3 of 7

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       Case 13-20060-GLT                       Doc 342           Filed 11/30/17 Entered 11/30/17 22:08:05                 Desc Main
                                                                Document      Page 5 of 8


7.   THE DEBTOR PROPOSES TO AVOID OR LIMIT THE LIENS OF THE FOLLOWING CREDITORS:

Name the Creditor and identify the collateral with specificity.
-NONE-

8.   LEASES. Leases provided for in this section are assumed by the debtor(s). Provide the number of lease payments to be
     made by the Trustee.

8.(a) Claims to be paid at plan level three (for vehicle payments, do not use "pro rata"; instead, state the monthly payment to be
applied to the claim):
 Name of Creditor              Description of leased asset                Monthly payment amount           Pre-petition arrears to be cured
 (include account#)                                                        and number of payments                (Without interest, unless
                                                                                                               expressly stated otherwise)
-NONE-

8.(b) Claims entitled to preconfirmation adequate protection payments pursuant to Section 1326 (a)(1)(C) (Use only if claim qualifies
for this treatment under the statute, and if claims are to be paid at level two prior to confirmation, and moved to level three after
confirmation):
 Name of Creditor               Description of leased asset                 Monthly payment amount          Pre-petition arrears to be cured
 (include account#)                                                          and number of payments               (Without interest, unless
                                                                                                                expressly stated otherwise)
-NONE-

9.   SECURED TAX CLAIMS FULLY PAID AND LIENS RETAINED
Name of Taxing Authority                          Total Amount of Type of Tax            Rate of    Identifying Number(s) if       Tax Periods
                                                           Claim                        Interest*   Collateral is Real Estate
County of Allegheny                                            69.06   Real Estate        12%       10-F-125                    2013
County of Allegheny                                           217.58   Real Estate        12%       10-N-337                    2013
County of Allegheny                                           179.27   Real Estate        12%       26-J-228                    2013
County of Allegheny                                           259.68   Real Estate        12%       26-P-88                     2013
County of Allegheny                                            17.50   Real Estate        12%       27-A-48                     2013
County of Allegheny                                           339.14   Real Estate        12%       27-B-68                     2013
County of Allegheny                                           160.35   Real Estate        12%       27-B-249                    2013
County of Allegheny                                           169.81   Real Estate        12%       27-B-255                    2013
County of Allegheny                                           192.04   Real Estate        12%       27-C-11                     2013
County of Allegheny                                            69.06   Real Estate        12%       175-M-72                    2013
County of Allegheny                                           973.43   Real Estate        12%       178-C-145                   2013
County of Allegheny                                         1,028.30   Real Estate        12%       232-P-55                    2013
County of Allegheny                                           118.25   Real Estate        12%       233-L-194                   2013
Pittsburgh Water & Sewer                                      410.25   Sewage Charges     10%       10-N-337                    2010-2013
Pittsburgh Water & Sewer                                      424.25   Sewage Charges               10-N-337                    2010-2013
Pittsburgh Water & Sewer                                    1,631.70   Sewage Charges     10%       11-E-172                    2008-2013
Pittsburgh Water & Sewer                                    3,024.20   Sewage Charges     10%       26-J-288                    2008-2009
Pittsburgh Water & Sewer                                      345.12   Sewage Charges               26-J-288                    2008-2009
Pittsburgh Water & Sewer                                    2,138.77   Sewage Charges     10%       26-P-88                     2008-2013
Pittsburgh Water & Sewer                                      272.19   Sewage Charges     10%       27-A-317                    2010-2013
Pittsburgh Water & Sewer                                       79.28   Sewage Charges               27-A-317                    2010-2013
Pittsburgh Water & Sewer                                      170.33   Sewage Charges     10%       27-B-68                     2010
Pittsburgh Water & Sewer                                       77.04   Sewage Charges               27-B-68                     2010
Pittsburgh Water & Sewer                                      525.03   Sewage Charges     10%       27-B-255                    2011-2013
Pittsburgh Water & Sewer                                       99.13   Sewage Charges               27-B-255                    2011-2013
Pittsburgh Water & Sewer                                    1,239.41   Sewage Charges     10%       27-C-11                     2009-2013
Pittsburgh Water & Sewer                                      604.26   Sewage Charges               27-C-11                     2009-2013
Pittsburgh Water & Sewer                                    1,867.17   Sewage Charges     10%       83-A-268                    2010-2013
Pittsburgh Water & Sewer                                      473.60   Sewage Charges               83-A-268                    2010-2013
City and School District of
Pittsburgh                                                     133.49 Real Estate         10%       26-J-288                    2012

PAWB Local Form 10 (07/13)                                                                                                               Page 4 of 7

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        Case 13-20060-GLT                      Doc 342           Filed 11/30/17 Entered 11/30/17 22:08:05                         Desc Main
                                                                Document      Page 6 of 8


Name of Taxing Authority                          Total Amount of Type of Tax                 Rate of    Identifying Number(s) if        Tax Periods
                                                           Claim                             Interest*   Collateral is Real Estate
City and School District of
Pittsburgh                                                      13.35 Real Estate                        26-J-288                     2012
City and School District of
Pittsburgh                                                      84.05 Real Estate              10%       27-A-48                      2012
City and School District of
Pittsburgh                                                           8.40 Real Estate                    27-A-48                      2012
                                                                                                                                      2002-04,
Borough of Swissvale                                        9,251.75 Trash Fees                10%       178-C-145                    2009-12
                                                                                                                                      2002-04,
Borough of Swissvale                                        7,133.06 Trash Fees                          178-C-145                    2009-12
      * The secured tax claims of the Internal Revenue Service, Commonwealth of Pennsylvania and County of Allegheny shall bear
        interest at the statutory rate in effect as of the date of confirmation of the first plan providing for payment of such claims.

10. PRIORITY DOMESTIC SUPPORT OBLIGATIONS:
If the Debtor(s) is currently paying Domestic Support Obligations through existing state court order(s) and leaves this section blank,
the Debtor(s) expressly agrees to continue paying and remain current on all Domestic Support Obligations through existing state court
orders. If this payment is for prepetition arrearages only, check here: As to "Name of Creditor," specify the actual payee, e.g. PA
SCUDU, etc.
 Name of Creditor               Description                               Total Amount of Claim            Monthly payment or Prorata
-NONE-

11.        PRIORITY UNSECURED TAX CLAIMS PAID IN FULL
Name of Taxing Authority                                 Total Amount of Claim Type of Tax                     Rate of Interest          Tax Periods
                                                                                                                (0% if blank)
City of Pittsburgh Dept. of Finance                                            20.94 Earned Income Tax                                            2006

12. ADMINISTRATIVE PRIORITY CLAIMS TO BE FULLY PAID
    a. Percentage fees payable to the Chapter 13 Fee and Expense Fund shall be paid at the rate fixed by the United States Trustee.
    b. Attorney fees are payable to Law Office of Albert G. Reese, Jr. . In addition to a retainer of $ 1,000.00 already paid
       by or on behalf of the Debtor, the amount of $ 0.00 is to be paid at the rate of $ 0.00 per month. Including any retainer
       paid, a total of $ 1,000.00 has been approved pursuant to a fee application. An additional $ 0.00 will be sought through a
       fee application to be filed and approved before any additional amount will be paid thru the Plan.

13.    OTHER PRIORITY CLAIMS TO BE PAID IN FULL
 Name of Creditor                   Total Amount of Claim                                     Interest Rate   Statute Providing Priority Status
                                                                                              (0% if blank)
-NONE-

14. POST-PETITION UTILITY MONTHLY PAYMENTS This provision completed only if utility provider has agreed to this
treatment.

These payments comprise a single monthly combined payment for post-petition utility services, any post-petition delinquencies and
unpaid security deposits. The claim payment will not change for the life of the plan. Should the utility file a motion requesting a
payment change, the Debtor will be required to file an amended plan. These payments may not resolve all of the post-petition claims
of the utility. The utility may require additional funds from the Debtor(s) after discharge.
  Name of Creditor                                             Monthly Payment        Post-petition Account Number
  -NONE-

15. CLAIMS OF UNSECURED NONPRIORITY CREDITORS TO BE SPECIALLY CLASSIFIED. If the following is
intended to be treated as long term continuing debt treatment pursuant to Section 1322(b)(5) of the Bankruptcy Code, check here:
Name of Creditor                                                     Principal Balance or  Rate of          Monthly       Arrears to be Interest Rate
                                                                         Long Term Debt Interest (0%       Payments             Cured on Arrears
                                                                                          if blank)
-NONE-

PAWB Local Form 10 (07/13)                                                                                                                     Page 5 of 7

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       Case 13-20060-GLT                       Doc 342           Filed 11/30/17 Entered 11/30/17 22:08:05            Desc Main
                                                                Document      Page 7 of 8


16. CLAIMS OF GENERAL, NONPRIORITY UNSECURED CREDITORS

Debtor(s) ESTIMATE that a total of $ 0.00 will be available for distribution to unsecured, non-priority creditors. Debtor(s)
UNDERSTAND that a MINIMUM of $ 0.00 shall be paid to unsecured, non-priority creditors in order to comply with the
liquidation alternative test for confirmation. The total pool of funds estimated above is NOT the MAXIMUM amount payable to this
class of creditors. Instead, the actual pool of funds available for payment to these creditors under the plan base will be determined
only after audit of the plan at time of completion. The estimated percentage of payment to general unsecured creditors is 0 %. The
percentage of payment may change, based upon the total amount of allowed claims. Late-filed claims will not be paid unless all
timely filed claims have been paid in full. Thereafter, all late-filed claims will be paid pro-rata unless an objection has been filed
within (30) days of filing the claim. Creditors not specifically identified in Parts 1-15, above, are included in this class.


                                    GENERAL PRINCIPLES APPLICABLE TO ALL CHAPTER 13 PLANS

        This is the voluntary Chapter 13 reorganization plan of the Debtor (s). The Debtor (s) understand and agree that the Chapter
13 plan may be extended as necessary by the Trustee, to not more than sixty (60) months, in order to insure that the goals of the plan
have been achieved. Property of the estate shall not re-vest in the Debtor(s) until the bankruptcy case is closed.

         The Debtor (s) shall comply with the tax return filing requirements of Section 1308, prior to the Section 341 Meeting of
Creditors, and shall provide the Trustee with documentation of such compliance at or before the time of the Section 341 Meeting of
Creditors. Counsel for the Debtor(s), or Debtor (if not represented by counsel), shall provide the Trustee with the information needed
for the Trustee to comply with the requirements of Section 1302 as to notification to be given to Domestic Support Obligation
creditors, and Counsel for the Debtor(s), or Debtor (if pro se) shall provide the Trustee with calculations relied upon by Counsel to
determine the Debtor (s)' current monthly income and disposable income.

         As a condition to eligibility of the Debtor(s) to receive a discharge upon successful completion of the plan, Counsel for the
debtor(s), or the debtor(s) if not represented by counsel, shall file with the Court Local Bankruptcy Form 24 (Debtor’s Certification of
Discharge Eligibility) within forty-five (45) days after making the final plan payment.

         All pre-petition debts are paid through the Trustee. Additionally, ongoing payments for vehicles, mortgages and assumed
leases are also paid through the Trustee, unless the Court orders otherwise.

         Percentage fees to the trustee are paid on all distributions at the rate fixed by the United States Trustee. The Trustee has the
discretion to adjust, interpret and implement the distribution schedule to carry out the plan. The Trustee shall follow this standard plan
form sequence unless otherwise ordered by the Court.

           The provisions for payment to secured, priority and specially classified creditors in this plan shall constitute claims in
accordance with Bankruptcy Rule 3004. Proofs of claim by the Trustee will not be required. The Clerk shall be entitled to rely on the
accuracy of the information contained in this plan with regard to each claim. If the secured, priority or specially classified creditor
files its own claim, then the creditor's claim shall govern, provided the Debtor(s) and Debtor(s)' counsel have been given notice and an
opportunity to object. The Trustee is authorized, without prior notice, to pay claims exceeding the amount provided in the plan by not
more than $250.

          Any Creditor whose secured claim is modified by the plan, or reduced by separate lien avoidance actions, shall retain its lien
until the plan has been fully completed, or until it has been paid the full amount to which it is entitled under applicable
non-bankruptcy law, whichever occurs earlier. Upon payment in accordance with these terms and successful completion of the plan by
the Debtor (s), the creditor shall promptly cause all mortgages and liens encumbering the collateral to be satisfied, discharged and
released.

          Should a pre-petition Creditor file a claim asserting secured or priority status that is not provided for in the plan, then after
notice to the Trustee, counsel of record, (or the Debtor(s) in the event they are not represented by counsel), the Trustee shall treat the
claim as allowed unless the Debtor(s) successfully objects.

        Both of the preceding provisions will also apply to allowed secured, priority and specially classified claims filed after the bar
date. LATE-FILED CLAIMS NOT PROPERLY SERVED ON THE TRUSTEE AND THE DEBTOR(S)' COUNSEL OF RECORD
(OR DEBTOR, IF PRO SE) WILL NOT BE PAID. The responsibility for reviewing the claims and objecting where appropriate is
placed on the Debtor.

PAWB Local Form 10 (07/13)                                                                                                           Page 6 of 7

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       Case 13-20060-GLT                       Doc 342           Filed 11/30/17 Entered 11/30/17 22:08:05   Desc Main
                                                                Document      Page 8 of 8




                        BY SIGNING THIS PLAN THE UNDERSIGNED, AS COUNSEL FOR THE DEBTOR(S),
                        OR THE DEBTOR(S) IF NOT REPRESENTED BY COUNSEL, CERTIFY THAT I/WE
                        HAVE REVIEWED ANY PRIOR CONFIRMED PLAN(S), ORDER(S) CONFIRMING
                        PRIOR PLAN(S), PROOFS OF CLAIM FILED WITH THE COURT BY CREDITORS,
                        AND ANY ORDERS OF COURT AFFECTING THE AMOUNT(S) OR TREATMENT OF
                        ANY CREDITOR CLAIMS, AND EXCEPT AS MODIFIED HEREIN, THAT THIS
                        PROPOSED PLAN CONFORMS TO AND IS CONSISTENT WITH ALL SUCH PRIOR
                        PLANS, ORDERS AND CLAIMS. FALSE CERTIFICATIONS SHALL SUBJECT THE
                        SIGNATORIES TO SANCTIONS UNDER FED.R.BANK.P. 9011.


                        Attorney Signature                           /s/ Albert G. Reese, Jr.
                        Attorney Name and Pa. ID #                   Albert G. Reese, Jr., Esquire 93813
                                                                     640 Rodi Road, 2nd Floor, Suite 2
                        Attorney Address and Phone                   Pittsburgh, PA 15235
                        Debtor Signature                             /s/ Major R. Rainey




PAWB Local Form 10 (07/13)                                                                                               Page 7 of 7

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